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 AO 399(01/09) Waiver of the Service of Summons


                                            UNITED STATES DISTRICT COURT
                                                                             for the
                                                                   District of Massachusetts

                         Sacha Berlik, et al.                                       )
                                  Plaintiff                                         )
                                     V.                                             )      Civil Action No. 1 :21-cv-11723
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                                                    al'-                            )
                                 Defendant                                          )

                                                  WMVER OF             nm SERVICE OF SUMMONS
 To: Sara M. lord
         (/>Jame ofthe ptainttjj 's aliomey or unrepresented plamttjj)

        I have received your request to waive service of a summons in this action along with a i;;opy of th� wmplain.t,
 two copies of this waiver form, and a prepaid 'means of returning one signed copy of the form to you.
            I, or the entity I 1·epresent, 1t_g11;:i;: to save the eJ<pense of serving a summons ;;ind complaint in this cas.c.
         I understand that T, or thr. tmtity r repres.ent, will keep all rl�fl'!n.'-f';i; or objecrion5 to the Jaw11uit, the r.:011rt',;;
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        l al:ro und�rstand !lial I, or the entity I represt"t1!, must iili: am.I !it<l vi:: au am;we1 or a motion under Rule 12 wilhi11
60 days from               11/16/2021             __, the date when this request was sent (or 90 dttys ifit was sent oul,;;ide the
United States). Ifl fail to do so, a default judgment will be entered against me or the entity I represent.

            12/14/2021                                                                  ��                �,,f:,,-J =tt.-�- ;�       w
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         Flybridge Network Fund II, LP.                                                                   Daniel W. Halston
        Prinu:d name ofpany wai\!ing service ofswftl'flons                                                         ·· · i'i·iim:d name
                                                                                                         WilmerHale
                                                                                                         60 State Street
                                                                                                         Boston, _MA 02109
                                                                                                                            Address
                                                                                                          daniel.halston@wilmerha!e.com
                                                                                                                    £-mail address
                                                                                                           +1 617 526 6654
                                                                                                                   Telephon-e numh'lr

                                               Duly !o AvGid Uium:essary ExpensilS o-fServiflg a Summens
          Rule 4 ofthe Federal Rules ofCivil l'rocerlure requires rertain defendants to cooperate in saving unnecessary expenses ofserving a summons
and complaint. A dr.fond.ant who is loC11ted in the Unite<l S1i11e� nnd who fail� to ffltum a ;,;ienr.<I waiver ofi.r.rvicr. 1'<'°.JlHl':Med by a p�ainlifflor.:�tPlf in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
          "Good cause" doe� nnt inr.h1lll'! ll beliefthat the lawsuit is grounclles,:,;, or that it has been hm11eht in an improper VMllf\ or th Rt !hf' 0011rt h>t�
no jurisdiction over this matter or over the defendant or the defendmit's property.
        If the waiver is signed ood returned, you cn.n still mlilkc these Md nll other defenses r.md objections, but you cannot object to the absence of
a summons or of service.
           lfyou �vaivescrvice, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and retuming the waiver fonn, you are allowed more time to respond than if a summons had 001m served.
